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                                         ORDERED.
         Dated: September 03, 2020




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

In re:                                                        Chapter 7 (Jointly Administered)

CFRA HOLDINGS, LLC                                            Case No.: 8:20-bk-03608-CPM

CFRA, LLC                                                     Case No.: 8:20-bk-03609-CPM

          and

CFRA TRI-CITIES, LLC                                          Case No.: 8:20-bk-03610-CPM
___________________________/

                                  ORDER GRANTING
                           MOTION TO ESTABLISH DEADLINE
                     TO FILE CHAPTER 11 ADMINISTRATIVE CLAIMS
                   AND ESTABLISHING ADMINISTRATIVE CLAIM FILING
                            DEADLINE OF OCTOBER 19, 2020
                                       (Doc. No. 268)

                THIS CAUSE came on for consideration upon a Motion to Establish a Deadline to File

    Chapter 11 Administrative Claims filed by Dawn Carapella, as the Chapter 7 Trustee in the

    above-styled converted Case. The Trustee requests the Court establish October 19, 2020 as
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   the last day to file Applications for Chapter 11 Administrative Claims. This date is also the

   deadline for proof of claims in the Case.

            The Court considered the record and finds that it is well taken and that it is appropriate

   to establish a deadline for filing Applications for Chapter 11 Administrative Claims. The

   Motion shall be granted, and October 19, 2020 shall be the last day to file Applications for

   Chapter 11 Administrative Claims. Accordingly, it is

            ORDERED and ADJUDGED that:

            1.   The Motion (Doc. No. 268) is granted.

            2. The last day to file an Application for a Chapter 11 Administrative Claim is October

19, 2020.

            3. Any Application for a Chapter 11 Administrative Claim filed after October 19,

2020 shall be deemed untimely and disallowed without further order of the Court.



Robert Wahl, Esq. is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and file a proof of service within three (3) days of entry of this
order.
